Case 2:05-cr-00192-WFN   ECF No. 129   filed 12/18/06   PageID.586 Page 1 of 6
Case 2:05-cr-00192-WFN   ECF No. 129   filed 12/18/06   PageID.587 Page 2 of 6
Case 2:05-cr-00192-WFN   ECF No. 129   filed 12/18/06   PageID.588 Page 3 of 6
Case 2:05-cr-00192-WFN   ECF No. 129   filed 12/18/06   PageID.589 Page 4 of 6
Case 2:05-cr-00192-WFN   ECF No. 129   filed 12/18/06   PageID.590 Page 5 of 6
Case 2:05-cr-00192-WFN   ECF No. 129   filed 12/18/06   PageID.591 Page 6 of 6
